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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

IN RE:                                        §
                                              §
JOSE TREVINO, SR. and                         §       BANKRUPTCY CASE NO. 10-70594
TERESA TREVINO                                §
                                              §       CHAPTER 13
                                              §
DEBTORS                                       §
                                              §
JOSE TREVINO and                              §
TERESA TREVINO,                               §
                                              §
PLAINTIFFS,                                   §
                                              §
v.                                            §
                                              §
1) CALIBER HOME LOANS, INC. and               §
2) U.S. BANK TRUST, N.A. as Trustee           §
   for LSF8 MASTER                            §
   PARTICIPATION TRUST                        §
                                              §
DEFENDANTS.                                   §

ORDER GRANTING SUPPLEMENTAL APPLICATION OF PLAINTIFF’S COUNSEL
FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES

        CAME ON FOR CONSIDERATION, Plaintiffs’ Supplemental Application for Allowance

of Compensation and Reimbursement of Expenses (the “Supplemental Application”). Having

considered the Supplemental Application, the Court is of the opinion that it should be GRANTED.

It is therefore

        ORDERED that Kellett & Bartholow PLLC is awarded its reasonable attorneys’ fees in

the amount of $122,109.50 and expenses in the amount of $8,260.70. It is further

        ORDERED that the amounts awarded to Kellett & Bartholow PLLC in this order are in

addition to any amounts awarded to Kellett & Bartholow in connection with its Application of




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Plaintiffs’ Counsel for Allowance of Compensation and Reimbursement of Expenses filed at ECF

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